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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                         CHARLOTTESVILLE DIVISION


  BABY DOE, et al.,                       )
                                          )
                Plaintiffs,               )
                                          )
  v.                                      ) Case No. 3:22-cv-00049-NKM
                                          )
  JOSHUA MAST, et al.,                    )
                                          )
                Defendants,               )
                                          )
  and                                     )
                                          )
  UNITED STATES SECRETARY OF              )
  STATE ANTONY BLINKEN, et al.,           )
                                          )
                Nominal Defendants.       )
                                          )


                           KIMBERLEY MOTLEY’S
                MOTION TO DISMISS THE AMENDED COMPLAINT

        Defendant Kimberley Motley moves to dismiss the Plaintiffs’ Amended

 Complaint (Dkt. 68) for lack of personal jurisdiction under Rule 12(b)(2) and for

 failure to state a claim upon which relief can be granted under Rule 12(b)(6) on the

 following grounds:

        1.      The Court lacks personal jurisdiction over Ms. Motley because she is a

 resident of North Carolina (not Virginia) and the Amended Complaint fails to allege

 that Ms. Motley has suit-related contacts with Virginia sufficient to satisfy federal

 due process.
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       2.     The Amended Complaint attempts to impute the Masts’ contacts with

 Virginia to Ms. Motley as an alleged co-conspirator. The Court should decline to

 recognize “conspiracy jurisdiction” because it is inconsistent with U.S. Supreme Court

 precedent confirming that “a defendant’s relationship with a plaintiff or third party,

 standing alone, is an insufficient basis for jurisdiction” and that a defendant must

 have “his own affiliation with the State.” Walden v. Fiore, 571 U.S. 277, 286 (2014)

 (emphasis added).

       3.     But even if the Court concludes that—in theory—“conspiracy

 jurisdiction” can comport with federal due process, the Amended Complaint fails to

 adequately allege that Ms. Motley participated in a conspiracy.

       4.     In any event, the Amended Complaint fails to plausibly allege any cause

 of action against Ms. Motley because the crux of the allegations against her are that,

 at the behest of Defendant Joshua Mast, she (a) located John and Jane Doe, (b) offered

 to help get access to medical care for Baby Doe, and (c) introduced them to Joshua

 Mast. Even if true, those allegations fail to state a claim for relief under any theory,

 including because they fail to satisfy Federal Rule of Civil Procedure 9(b)’s heightened

 pleading requirement for fraud-based claims.

       Ms. Motley submits an accompanying Memorandum in Support more fully

 describing the factual and legal arguments supporting dismissal.




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 Dated: November 14, 2022.                Respectfully submitted,


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                           CERTIFICATE OF SERVICE

       I certify that on November 14, 2022, I filed this Motion using the Court’s

 CM/ECF system, which will provide service to all counsel of record.

                                              /s/ Thomas W. Davison
                                              Thomas W. Davison
